                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

UNITED STATES OF AMERICA                              )
                                                      )       Case No. 1-11-CR-14
v.                                                    )
                                                      )       COLLIER / LEE
LASHAWN BOOKER                                        )

                               REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on June 8, 2011. At

the hearing, Defendant moved to withdraw her not guilty plea to Count One of the three-count

Superseding Indictment and entered a plea of guilty to the lesser included offense of the charge in

Count One, that is of conspiracy to distribute a mixture and substance containing cocaine base

“crack,” in violation of 21 U.S.C. §§ 846 and 841(b)(1)(C) in exchange for the undertakings made

by the government in the written plea agreement. On the basis of the record made at the hearing,

I find the Defendant is fully capable and competent to enter an informed plea; the plea is made

knowingly and with full understanding of each of the rights waived by Defendant; the plea is made

voluntarily and free from any force, threats, or promises, apart from the promises in the plea

agreement; the Defendant understands the nature of the charge and penalties provided by law; and

the plea has a sufficient basis in fact.

        Therefore, I RECOMMEND Defendant’s motion to withdraw her not guilty plea to Count

One be granted, her plea of guilty to the lesser included offense of the charge in Count One, that is

of conspiracy to distribute a mixture and substance containing cocaine base “crack,” in violation of

21 U.S.C. §§ 846 and 841(b)(1)(C) be accepted, the Court adjudicate Defendant guilty of the lesser

included offense of the charge in Count One,that is of conspiracy to distribute a mixture and

substance containing cocaine base “crack,” in violation of 21 U.S.C. §§ 846 and 841(b)(1)(C), and




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a decision on whether to accept the plea agreement be deferred until sentencing. Defendant made

an oral motion to remain on bond after entry of her plea pending sentencing pursuant to 18 U.S.C.

§§ 3143 & 3145(c). The Government agreed that exceptional reasons exist making detention

inappropriate under 18 U.S.C. § 3145(c). Therefore Defendant’s oral motion to remain on bond

pending sentencing is GRANTED and a separate Order has been entered on the record. Therefore,

I further RECOMMEND Defendant remain on bond until sentencing in this matter. Acceptance

of the plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

specifically reserved for the district judge.



                                                s/fâátÇ ^A _xx
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE


                                       NOTICE TO PARTIES

       You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen (14) days after the plea hearing.
Failure to file objections within fourteen (14) days constitutes a waiver of any further right to
challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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